            Case 2:19-bk-56656                      Doc 63          Filed 05/15/20 Entered 05/15/20 09:08:16                                Desc Main
   Fill in this information to identify the case:                   Document     Page 1 of 7
Debtor 1                 Michael Lorin Cutlip
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Southern District of Ohio
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1956656
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             4
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           07/01/2020
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             1113.73
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      6 ____
                                                                    ____ 8 ____
                                                                            2 ____
                                                                                4

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

               No
            
            ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                                           254.24
                Current escrow payment: $ _________________                                                                       253.23
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                Michael Lorin Cutlip                                                                   1956656
     Case
      Debtor 12:19-bk-56656                  Doc 63 Filed      05/15/20 EnteredCase
                 ________________________________________________________
                 First Name          Middle Name     Last Name
                                                                                  05/15/20       09:08:16
                                                                                    number (if known)             Desc Main
                                                                                                      ______________________
                                                    Document          Page 2 of 7
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Rosa Michelle Kelly
      ______________________________________________________________
      Signature
                                                                                      05/15/2020
                                                                                Date _______________




 Print:______________________________________________________________
        Kelly, Rosa Michelle                                                     VP Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
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                                                  Document
                       UNITED STATES BANKRUPTCY COURT          Page 3 of 7

                                                       Southern District of Ohio


                                                   Chapter 13 No. 1956656
                                                   Judge: Jeffery P. Hopkins

In re:
Michael Lorin Cutlip
                                          Debtor(s).

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before May 18, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                    Michael Lorin Cutlip
                                    8253 Deering Oaks Drive

                                    Blacklick OH 43004



                                   By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                    N/A




Debtor’s Attorney:                  By Court's CM/ECF system registered email address
                                    David A Bhaerman
                                    Law Office of David A. Bhaerman, LLC
                                    10400 Blacklick Eastern Road, Suite 110

                                    Pickerington OH 43147-7702


                                    By Court's CM/ECF system registered email address
                                   N/A




Trustee:                            By Court's CM/ECF system registered email address
                                    Interim Faye English

                                    130 East Wilson Bridge Road
                                    Suite 200
                                    Worthington OH 43085

                                                           _______________________________________________
                                                           /s/Rosa Michelle Kelly
                                                           VP Loan Documentation
                                                           Wells Fargo Bank, N.A.
        Case 2:19-bk-56656                Doc 63         Filed 05/15/20 Entered    05/15/20 09:08:16 Desc Main
                                                                              Escrow Review Statement
                                                     Document
                                 Return Mail Operations               Page 4 ofFor
                                                                                7 informational purposes only
                                 PO Box 14547
                                 Des Moines, IA 50306-4547                              Statement Date:                                   May 11, 2020
                                                                                        Loan number:
                                                                                        Property address:
                                                                                            8253 DEERING OAKS DR
                                                                                            BLACKLICK OH 43004



                                                                                        Customer Service
                                                                                            Online                           Telephone
                                                                                            wellsfargo.com                   1-800-340-0473
          MICHAEL L CUTLIP
                                                                                            Correspondence                   Hours of operation
          8253 DEERING OAKS DR                                                              PO Box 10335                     Mon - Fri 7 a.m. - 7 p.m. CT
          BLACKLICK OH 43004-8451                                                           Des Moines, IA 50306
                                                                                            To learn more, go to:
                                                                                            wellsfargo.com/escrow


                                                                                               We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms of the
loan and are provided for informational purposes only.

These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.
                                                                                         The escrow account has an overage of
Here’s what we found:                                                                                  $14.04
  • Required minimum balance: The escrow account balance is projected to be
     above the required minimum balance. This means there is an overage.

If payments required under the bankruptcy plan have not been made, any escrow
overage will be held in the escrow account.

  • Payments: As of the July 1, 2020 payment, the contractual portion of the
     escrow payment decreases.



  Part 1 - Mortgage payment
   New Payment                   The new total payment will be $1,113.73
                                  Previous payment through New payment beginning with
                                  06/01/2020 payment date   the 07/01/2020 payment

 Principal and/or interest                  $860.50                  $860.50                        No action required
 Escrow payment                             $254.24                   $253.23
                                                                                         Starting July 1, 2020 the new contractual
 Total payment amount                     $1,114.74                $1,113.73             payment amount will be $1,113.73




See Page 2 for additional details.
                                                                                                                                             Page 2 of 3
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                                                                                             Loan Number:
                                                       Document     Page 5 of 7
    Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $1,318.40. For the coming year, we expect the amount paid from escrow to be
$3,038.80.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                                     07/19 - 06/20      11/19 - 05/20    07/20 - 06/21
                                        - -/- -                                                                       # of               escrow
                                                       (Actual)           (Actual)        (Projected)
                                                                                                                     months              amount

Property taxes                               $0.00         $1,318.40        $1,318.40        $2,636.80        ÷         12       =          $219.73
Property insurance                           $0.00            $0.00             $0.00            $0.00        ÷         12       =              $0.00
Other insurance                              $0.00            $0.00             $0.00          $402.00        ÷         12       =           $33.50
Total taxes and insurance                    $0.00         $1,318.40        $1,318.40        $3,038.80        ÷         12       =          $253.23
Escrow shortage                              $0.00            $36.92            $0.00            $0.00

Total escrow                                 $0.00         $1,355.32        $1,318.40        $3,038.80                                      $253.23


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                  (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance June, 2021                                     $463.58            table)

Bankruptcy adjustment‡                                              +            $56.92

Minimum balance for the escrow account†                             -          $506.46            (Calculated as: $253.23 X 2 months)


Escrow overage                                                      =            $14.04


‡
 This adjustment of $56.92, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
contract to determine the cash reserve.
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                                                       Document     Page 6 of 7              Loan Number:



  Part 3 - Escrow account projections
Escrow account projections from July, 2020 to June, 2021
                                        What we
              Payments to               expect to                                                                Projected escrow        Balance required
Date            escrow                   pay out         Description                                                 balance              in the account
Jun 2020                                                 Starting balance                                               $463.62                     $506.50
Jul 2020           $253.23                    $0.00                                                                     $716.85                     $759.73
Aug 2020           $253.23                    $0.00                                                                     $970.08                    $1,012.96
Sep 2020           $253.23                    $0.00                                                                    $1,223.31                   $1,266.19
Oct 2020           $253.23                    $0.00                                                                    $1,476.54                   $1,519.42
Nov 2020           $253.23                    $0.00                                                                    $1,729.77                   $1,772.65
Dec 2020           $253.23                    $0.00                                                                    $1,983.00                   $2,025.88
Jan 2021           $253.23                 $1,318.40     FRANKLIN COUNTY (W)(5)                                         $917.83                     $960.71
Feb 2021           $253.23                    $0.00                                                                    $1,171.06                   $1,213.94
Mar 2021           $253.23                    $0.00                                                                    $1,424.29                   $1,467.17
Apr 2021           $253.23                    $0.00                                                                    $1,677.52                   $1,720.40
May 2021           $253.23                    $0.00                                                                    $1,930.75                   $1,973.63
Jun 2021           $253.23                 $1,318.40     FRANKLIN COUNTY (W)(5)                                         $865.58                     $908.46
Jun 2021              $0.00                 $402.00      LIBERTY MUTUAL                                                $463.58                     $506.46

Totals           $3,038.76                $3,038.80



  Part 4 - Escrow account history
Escrow account activity from November, 2019 to June, 2020
                      Deposits to escrow                   Payments from escrow                                                    Escrow balance
   Date      Actual      Projected Difference          Actual   Projected Difference             Description           Actual         Projected Difference
Nov 2019                                                                                      Starting Balance          -$554.86       $1,525.42     -$2,080.28
Nov 2019        $0.00         $254.24     -$254.24        $0.00             $0.00    $0.00                              -$554.86       $1,779.66      -$2,334.52

Dec 2019        $0.00         $254.24     -$254.24        $0.00             $0.00    $0.00                              -$554.86      $2,033.90       -$2,588.76

Jan 2020        $0.00         $254.24     -$254.24     $1,318.40     $1,324.43      -$6.03    FRANKLIN COUNTY (W)(5)   -$1,873.26       $963.71       -$2,836.97

Feb 2020     $1,006.40        $254.24      $752.16        $0.00             $0.00    $0.00                              -$866.86       $1,217.95      -$2,084.81

Mar 2020        $0.00         $254.24     -$254.24        $0.00             $0.00    $0.00                              -$866.86       $1,472.19      -$2,339.05

Apr 2020        $0.00         $254.24     -$254.24        $0.00             $0.00    $0.00                              -$866.86       $1,726.43      -$2,593.29

May 2020     $2,796.64        $254.24    $2,542.40        $0.00             $0.00    $0.00                             $1,929.78       $1,980.67        -$50.89
(estimate)

Jun 2020       $254.24        $254.24        $0.00     $1,318.40     $1,324.43      -$6.03    FRANKLIN                   $865.62        $910.48         -$44.86
(estimate)                                                                                    COUNTY (W)(5)

Jun 2020        $0.00          $0.00         $0.00      $402.00        $402.00       $0.00    LIBERTY MUTUAL             $463.62        $508.48         -$44.86
(estimate)

Totals       $4,057.28    $2,033.92      $2,023.36     $3,038.80     $3,050.86      -$12.06




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